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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 In re Fannie Mae/Freedie Mac Senior
 Preferred Stock Purchase Agreement Class
 Action Litigations


 This Order relates to:                                      Case No. 1:13-mc-1288-RCL
 ALL CASES.


                                               ORDER

        Before the Court are plaintiffs' motion for class certification [132] and the parties'

stipulation for class certification [ 133]. The parties have filed a proposed order reflecting the terms

of their stipulation [133-1] and providing that, in light of the stipulation, the motion for class

certification should be treated as withdrawn. For the reasons explained below, the Court doubts

the propriety of entering the parties' stipulated order and proceeding according to the parties'

proposed course.

       The Supreme Court has held that class certification is proper "only if the trial court is

satisfied, after a rigorous analysis, that the prerequisites of Rule 23(a) have been satisfied." Wal­

Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350-51 (2011) (emphasis added); see 3 William B.

Rubenstein, Newberg on Class Actions § 7:3 (5th ed.) ("The parties' presentation of an

uncontested motion for class certification does not relieve the court of the duty of determining

whether certification is appropriate."). Indeed, rigorous analysis is important to protect the due

process rights of absent parties that will be bound by the final judgment. Cf Hansberry v. Lee,

311 U.S. 32, 44-45 (1940). Additionally, the local rules of this Court contemplate that an order

for class certification will be the result of "ruling upon [a] motion" brought pursuant to Fed. R.

Civ. P. 23. See LCvR 23.l(b).
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        In light of these background principles and the procedure contemplated by the local rules,

the Court doubts that entering the stipulated order of class certification-without a corresponding

motion-would be permissible. The Court does not seek to challenge the parties' ability to

stipulate to relevant facts that may support class certification. But the parties' proposed course

seems inconsistent with the federal and local rules of civil procedure. Here, the parties have

suggested that they wish to withdraw the class certification motion in light of their proposed

stipulation. Thus, before the Court proceeds further on the class certification issue, the Court

hereby ORDERS the parties to file a joint written response to this Order by November 25, 2021,

informing the Court how they would like to proceed. If counsel believes that oral argument on

this issue is necessary, they should so state in their response to this order.

        IT IS SO ORDERED.




 Date: _ _1._, /2
               _1:f
                  ~ /4
                     _L._J.__   _                                     R yce C. Lamberth
                                                                      United States District Judge
